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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-CV-00834-DDD-NRN

  AMY WARDLAW

         Plaintiff,

  v.

  WESTERN COLORADO REGIONAL DISPATCH CENTER, a governmental entity;
  TOWN OF OLATHE, a municipality;
  DAVID PEARSON,
  ROGELIO PACHECO; and
  GEORGETTE BLACK

         Defendants.


       DEFENDANT DAVID PEARSON’S MOTION TO EXCEED WORD LIMITATION

         Defendant, DAVID PEARSON, by his attorneys, LASATER & MARTIN, P.C., and

  pursuant to Fed. R. Civ. P. 7(b)(1) respectfully moves this Court for leave to exceed the 4000 word

  limitation set forth in DDD Practice Standards Civil Actions § III. A. 5 for a Motion to Dismiss.

         As grounds in support, Defendant states as follows:

                                 CERTIFICATE OF CONFERRAL

         1.      Pursuant to D.C.Colo.LCivR 7.1A., Defendant has conferred with Plaintiff’s counsel

  who opposes the requested relief.

         2.      Defendant’s responsive pleading to Plaintiff’s First Amended Complaint [Doc. 43] is

  due on July 24, 2023.

         3.      Plaintiff’s First Amended Complaint is forty-six (46) pages long and consists of three

  hundred and fifty six (356) paragraphs with specific allegations and twelve (12) claims for relief

  against five Defendants. Plaintiff’s Amended Complaint alleges an instance of unwelcome physical

  touching where Plaintiff, a dispatcher with Western Colorado Regional Dispatch Center claims
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  “Officer Pearson wrapped both his arms around Ms. Wardlaw and pressed them onto her breasts.”

  Plaintiff’s complaint alleges six constitutional claims against Defendant Pearson for this act.

         4.       Specifically, the Amended Complaint alleges the following claims for relief, under

  both the Colorado and federal constitutions:

              •   42 U.S.C. § 1983 – Fourteenth Amendment Equal Protection (Against Defendant
                  Pearson) (Fifth Claim for Relief)
              •   42 U.S.C. § 1983 – Fourteenth Amendment Substantive Due Process (Against
                  Defendant Olathe and Pearson) (Sixth Claim for Relief)
              •   42 U.S.C. § 1983 – Fourth Amendment Unlawful Seizure (Against Defendant
                  Olathe and Pearson (Seventh Claim for Relief)
              •   C.R.S. § 13-21-131 Colo. Const. Art. II, Section 7 Unlawful Seizure (Against
                  Defendant Olathe and Pearson) (Eighth Claim for Relief)
              •   C.R.S. § 13-21-131 Colo. Const. Art. II, Section 25 – Due Process (Against
                  Defendant Pearson) (Eleventh Claim for Relief)
              •   C.R.S. § 13-21-131 Colo. Const. Art. II, Section 3, Section 25, and Section 29 –
                  Equal Protection (Against Defendant Pearson) (Twelfth Claim for Relief)

         5.       Plaintiff does not assert any common law claims against Defendant Pearson.

         6.       DDD Practice Standards Civil Actions § III. A. 1. Limits motions and responses to

  4000 words in length. Defendant Pearson filed a Motion to Dismiss [Doc. 39] the original Complaint

  [Doc. 1]. The original complaint included four constitutional claims for relief and the word count

  for Defendant’s Motion to Dismiss, after successive redactions, totaled 3959 words.

         7.       Plaintiff’s Amended Complaint adds two claims of unreasonable seizure against

  Defendant Pearson, under both the Colorado and state constitutions.

         8.       To fully analyze the different legal and factual issues of Plaintiff’s claims, Defendant

  requests that the Court grant him a total of 5000 words. The additional word count will allow him to

  provide a Motion to Dismiss and explain the basis of his arguments, given the unique and limited

  case law that supports each of these claims. Given the number of claims, effort has been made to




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  condense the motion and provide a cogent argument regarding the nature of the six constitutional

  claims and their application to the sexual harassment claim.

         9.      Defendant respectfully submits that good cause exists for this request.

         WHEREFORE, Defendant, DAVID PEARSON, respectfully requests leave from this

  Court to file a Motion to Dismiss Plaintiff’s First Amended Complaint which is 5000 words in length,

  as calculated pursuant to this Court’s Practice Standard III (A)(1).

         Respectfully submitted this 13th day of July 2023.

                                                Respectfully submitted,

                                                LASATER & MARTIN, P.C.

                                                By: /s/ Peter H. Doherty                    .
                                                Peter H. Doherty, Esq.
                                                5251 DTC Parkway, Suite 800
                                                Greenwood Village, CO 80111
                                                Telephone: 303-730-3900
                                                Facsimile: 303-730-3939
                                                E-mail: Peter@LasaterandMartin.com
                                                Attorney for Defendant David Pearson




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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing DEFENDANT DAVID
  PEARSON’S MOTION FOR LEAVE TO EXCEED WORD LIMITATION was electronically
  filed on the 13th day of July 2023 using the CM/ECF system and served on the following:

 Azra Taslimi, Esq.
 Felipe Bohnet-Gomez, Esq.
 Rathod Mohamedbhai LLC
 2701 Lawrence St., Suite 100
 Denver, CO 80205
 at@rmlawyers.com
 fbg@rmlawyers.com
 Attorneys for Plaintiffs

 Marni Nathan Kloster, Esq.
 Nicholas C. Poppe, Esq.
 Nathan Dumm & Mayer, P.C.
 7900 E. Union Ave, Suite 600
 Denver, CO 80237
 MKloster@ndm-law.com
 NPoppe@ndm-law.com
 Attorneys for Defendant Town of Olathe

 Jonathan M. Abramson, Esq.
 Yulia Nikolaevskaya, Esq.
 Kissinger & Fellman P.C.
 3773 Cherry Creek North Drive, Suite 900
 Denver, CO 80209
 jonathan@kandf.com
 julie@kandf.com
 Attorneys for Defendant Rogelio Pacheco

 David J. Goldfarb, Esq.
 Berg Hill Greenleaf Ruscitti LLP
 1712 Pearl Street
 Boulder, CO 80302
 djg@bhgrlaw.com
 Attorney for Defendant Georgette Black

                                          /s/Abigail Kinser




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